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Vriana Portillo

From:                Albert Alonzo
Sent:                Thursday, August 24, 2023 5:51 PM
To:                  Vriana Portillo
Subject:             Fwd: Mountain Express - List of Fuel Suppliers for Order Converting Case




Albert Alonzo
Sent from my iPhone

Begin forwarded message:

       From: "Williamson, Deborah" <DWilliamson@dykema.com>
       Date: August 24, 2023 at 5:23:16 PM CDT
       To: Albert Alonzo <Albert_Alonzo@txs.uscourts.gov>
       Subject: Mountain Express ‐ List of Fuel Suppliers for Order Converting Case



           CAUTION ‐ EXTERNAL:

       Mr. Alonzo, the Court asked me to send a list of the Fuel Suppliers for Exhibit A.

       Hunt Refining Company; ExxonMobil Oil Corporation; Valero Marketing and
       Supply Company; Sunoco LLC; CITGO Petroleum Corporation; BP Products North
       America, INC.; Chevron Products Company; HF Sinclair Refining and Marketing
       LLC; Marathon Petroleum Company LP; Equilon Enterprises LLC dba Shell Oil
       Products US; Motiva Enterprises LLC; BP Products North America Inc.; Gulf Oil
       LLC; Phillips 66 Company; Pilot Travel Centers LLC; Pilot Corporation; Saratoga
       Rack Marketing LLC; Parts and Service Authority LLC, and each of their affiliates.


       Deborah D. Williamson
       Member
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       DWilliamson@dykema.com ▪ dykema.com
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                                                      2
